ease 5:134cr-40054-HLT Documém"ziis 1=11@01 06/1'1/13 Page 1 011

 

 

 

 

 

 

DATE CASE NUN|BER
UNITED STATES DlSTRlCT COURT OFlDER SETTING COND|T|ONS OF f
NORTHERN DlSTR|CT OF CAL|FORN|A | HELEASE AND APPEARANCE BOND H{ / 6 …?V § %
ADDRESS OF DEFENDANT ,. TELEPHONE NUMBER /

 

NAME OF DEFENDANT

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tt]l;lL.\)Q¢:j NIELSCFU M,M@§QQH Qi_®j "
RELATIONSH|P TO DEFENDANT ADDRESS OF TY TELEPHONE NU|V|BER

NAME OF SURETY

NAME OF CUSTOD|AN FtELAT|ONSHlP TO DEFENDANT ADDRE_SS OF CUSTOD|AN TELEPHONE NUMBER

 

 

 

 

 

 

 

 

 

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aEcElvED FaoM: `
$QMD $ To BE PoSTED BY; b//q//B @/UM &k(u¢,d
COND|T|ONS OF RELEASE AND APPEARANCE ` "'\
'Dos +.~ of

Defendant is subject to each condition checked.
|E Defendant shall appear at all proceedings as ordered by the Court and shall surrender for service of any sentence imposed.

|X| Defendant shall not commit any federal, statel or local crime.
|E Defendant shall not harass, threaten, intimidate, injure, tamper withl or retaliate against any witness, victim, informant, jurorl or officer of the Court, or obstruct

any criminal investigation. See 18 U.S.C. 1503, 1510, 1512, and 1513, on reverse side.
Defendant shall not travel outside the Northern District of Californial that isl these counties: Alameda, Contra Costa, De| Norte, Humbo|dt, Lake, Marin,

Mendocinol Mo_rit§rey,W Napa, San Benitol San Franciso, San Mateol Santa C|ara, Santa Cruz, and Sonoma. See map on reverse side.

Defendant shall report in person Wim%iaiely upon release and thereafter as directed to Pretrial Services 1n &¢L_&ZLCJA_CQ_C_¢
See addresses and telephone numbers on reverse side. /

§ Defendant shall surrender all passports and visas to Pretrial Services by

Defendant shall not possess any firearm, destructive devicel or other dangerous weapon.

|:] Defendant shall remain in the custody of custodian at
who agrees to supervise him/her and to report any violation of a release condition to Pretrial Services. A custodian who fails to do so may be prosecuted for contempt.

|:] Defendant shall participate in (drug) (a|cohol) (mental health) counseling, and submit to (drug) (a|cohol) testing, as directed by Pretrial Services,D

jj Defendant shall not use alcohol to excess and shall not use or possess any narcotic or other controlled substance without a ll cn pgD
The Defendant shall maintain current verifiable employment, or if unemployed, the defendant shall seek employment or com at ona| program as

directed by Pretrial Services.
Defendant shall submit to a warrantless search of his/her person, place of residence and vehicle at the direction of Pretrial Servic 5 z“\e
Defendant shall have no contact with any co- -defendant out of the presence of counse|. \\UN o

Defendant shall not change residence without prior approval of Pretrial Services. SOONG
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and shall not apply for any passports or other travel documents.

Defendant shall comply with the following curfevv: to “\A
|j Defendant shall be subject to electronic or voice track monitoring. Defendant may leave home for the purpose of F\L“=°“
|:\ Defendant must [:| reside' 1n Halfway House |:] participate in Residential Treatmem¥“\“:-

|:] The following conditions also apply.

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@ WL\ \)W\¢'\\°L®?M \/WL\\LL @Pcvmu/LJ L\
@J&\V\“:PW\§\-»m

Defendant shall contribute to the cost of services provided by Pretrial Servies as directed by Pretrial Services.
CONSEQUENCES OF DEFENDANT’S FA|LURE TO OBEY COND|T|ONS OF FtELEASE

Payment of the full amount of this bond shall be due forthwith, and all cash or property posted to secure it shall be forfeited. Judgment may be entered and

executed against defendant and all sureties jointly and severally.
An arrest warrant for defendant shall 1ssue immediately, and defendant may be detained without bail for the rest of the proceedings

Defendant shall be subject to consecutive sentences and fines for failure to apear and/or for commiting an offense while on release. See 18 U.S.C. 3146 and

3147, on reverse side
We the undersign`ed, have read and understand the terms of this bond and acknowledge that we are bound by it until dul|y exonerated

S|GNATURE(s) OF SUFlEf`Y(ieS)

SlGNATUF\E OF DEFENDANT
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slGNATuRE brid[)§rUDlAN '

slGN{\TuRE 01= MA 1sTF1ATE JUDGE DATE
TH|S ORDEH AUTHOR|ZES THE MARSHAL TO HELEASE DEFENDANT FHOM CUSTODY. . ¢/L¢ 4/({3 4 0 , 5 ._/ d

1-CLERK OF THE COURT-WH|TE COPY

 

 

 

 

